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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: January 2, 2024




                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 In re:                                            :          Case No. 19-52861
                                                   :
          Jose R. Villavicencio,                   :          Chapter 7
                                                   :
                         Debtor.                   :          Judge Hoffman

             ORDER GRANTING MOTION OF CHAPTER 7 TRUSTEE
      FOR AUTHORITY TO LIQUIDATE ASSETS OF JRV SEPIRA LLC (DOC. 133)

          This matter came before the Court on the Motion of Chapter 7 Trustee for Authority to

 Liquidate Assets of JRV Sepira LLC (Doc. 133) (the “Motion”) filed by Myron N. Terlecky,

 Chapter 7 Trustee (the “Trustee”), on July 21, 2023. Through the Motion, the Trustee seeks to sell

 the assets of JRV Sepira LLC (the “LLC”), an Ohio limited liability company wholly owned by

 the debtor in this Chapter 7 case, Jose R. Villavicencio (the “Debtor”). The Motion was served on

 the Debtor, Debtor’s counsel, the Office of the United States Trustee and all creditors and parties

 in interest, and no objection or responsive pleading has been filed with respect to the Motion.

          This Court having reviewed the Motion; and this Court having jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference entered in this District;

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 and the matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of

 this proceeding and the Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and

 1409; and due and sufficient notice of the Motion having been given under the particular

 circumstances; and it appearing that no other or further notice is necessary; and it appearing that

 the relief requested in the Motion is in the best interests of the estate, creditors, and other parties

 in interest; and after due deliberation thereon; and good and sufficient cause appearing therefor; it

 is hereby

        ORDERED, ADJUDGED, AND DECREED that:

        1.      The Motion is granted as set forth herein.

        2.      The Trustee is authorized, pursuant to 11 U.S.C. §§105, 541 and 542, to take

 possession of and to liquidate the assets of the LLC.

        3.      The Trustee is further authorized to pay the creditors of the LLC without further

 order of this Court and to preserve any net proceeds of sale for the benefit of the estate.

        4.      The Trustee is further authorized to take such actions and execute such documents

 as are necessary to implement this Order.

        IT IS SO ORDERED.




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 Submitted by:

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 Default List




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